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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO.           20-CV-0515 JB/SMV              DATE: 5/26/2021

TITLE:        Atcitty v. United States of America

COURTROOM CLERK: L. Rotonda                       COURT REPORTER:        J. Bean

COURT IN SESSION: 1:38 PM                         TOTAL TIME: 15 MINUTES

TYPE OF PROCEEDING: INITIAL SCHEDULING CONFERENCE

COURT RULING:                DATES AND DEADLINES PROVIDED


ATTORNEYS PRESENT FOR PLAINTIFF(S):               ATTORNEYS PRESENT FOR DEFENDANT(S):
 Shenan Atcitty (appearing via telephone)           Kimberly Bell (appearing in person)
 Joseph Romero


PROCEEDINGS:

COURT IN SESSION: 1:38 PM

COURT: CALLS CASE, COUNSEL ENTER APPEARANCES. NOTES REVIEWED MOST RECENT JSR/PDP.

QUERIES COUNSEL AS TO WHETHER PARTIES NEED TO ADDRESS COURT REGARDING OTHER

SCHEDULING ISSUES.

MR. ROMERO: NO.

MS. BELL: NO.

COURT: REVIEWS PROPOSED DATES, SOME OF WHICH WERE PROPOSED BY PARTIES, OTHERS

CALCULATED BY COURT.              COURT NOTES THAT PARTIES HAD REQUESTED PRETRIAL CONFERENCE

AT SPECIFIC INTERVAL PRIOR TO TRIAL, BUT PROPOSES DATE THAT IS NOT SPECIFIC INTERVAL FROM

TRAILING DOCKET TRIAL SETTING AND MAY BE APPROXIMATELY THAT FAR OUT FROM TRIAL WHEN

FIRM SETTING OBTAINED.

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COUNSEL: AGREE TO SAME.

COURT: REVIEWS RESPECTIVE DEADLINES FOR PARTIES TO AMEND PLEADINGS AND JOIN PARTIES,

NOTES THAT DATES DO NOT CHANGE SUBSTANTIVE REQUIREMENTS OF FEDERAL RULES OF CIVIL

PROCEDURE. NOTES THAT COURT WILL ASK JUDGE VIDMAR AND SET SETTLEMENT CONFERENCE

AS SOON AFTER CLOSE OF DISCOVERY IN SEPTEMBER 2021 AS POSSIBLE. INSTRUCTS PARTIES TO

CONTACT CRD IF THEY PREFER USING DIFFERENT MJ OR PRIVATE MEDIATOR.           COURT REVIEWS

PROCEDURES RELATING TO DISCOVERY – IF PARTIES ENCOUNTER DISCOVERY DISPUTES, CALL CRD

AND WILL GET ON THE PHONE, OR MAY FORMALLY BRIEF DISCOVERY DISPUTES, OR OPT TO HAVE

MJ HANDLE DISCOVERY ISSUES. REMINDS PARTIES OF OBLIGATION TO MEET AND CONFER, AND

NOTES THAT COURT MAY ASSIST WITH PROCESS EARLIER. INSTRUCTS PARTIES TO PUT DEADLINES

IN MOTION AND ORDER AS TO DAUBERT ISSUES, OR IF THERE IS DISPUTE, COURT CAN GET ON THE

PHONE WITH PARTIES TO PROVIDE RULING.           COURT NOTES PREFERENCE OF RESOLVING DAUBERT

AND OTHER ISSUES PRIOR TO TRIAL.        COURT INDICATES WILL PLAN TO HAVE TRIAL IN

ALBUQUERQUE. QUERIES PARTIES, ANYTHING ELSE TO DISCUSS?

MR. ROMERO: NOTHING.

MS. BELL: NOTHING.

COURT: IF PARTIES NEED TO MOVE SOMETHING, PUT IN MOTION AND ORDER, OR CALL CRD TO

GET COURT ON THE PHONE.           HAVE A GOOD AFTERNOON.

COURT IN RECESS: 1:53 PM




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